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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
KATHLEEN M. JUNGCLAUS,                           :      CIVIL ACTION
                                                 :
                           Plaintiff,            :
                                                 :
                      v.                         :      No. 17-4462
                                                 :
WAVERLY HEIGHTS, LTD., THOMAS P.                 :
GARVIN, and JOHN and JANE DOES                   :
NUMBERS 1–21,                                    :
                                                 :
                           Defendants.           :
                                                 :

                                             ORDER

              AND NOW, this       9th    day of April, 2018, upon consideration of Defendants’,

Waverly Heights, LTD., Thomas P. Garvin, and John and Jane Does Numbers 1–21 (“Defendants”),

Motion to Dismiss Counts V and VI of Plaintiff’s Amended Complaint pursuant to Federal Rule of

Civil Procedure 12(b)(6) and Plaintiff Kathleen M. Jungclaus’ Memorandum of Law in Opposition,

it is hereby ORDERED that Defendants’ Motion to Dismiss Counts V and VI of Plaintiff’s

Amended Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) (Doc. No. 5) is

GRANTED.

              IT IS FURTHER ORDERED that Counts V and VI of Plaintiff’s Amended

Complaint are DISMISSED WITH PREJUDICE.



                                                     BY THE COURT:



                                                     /s/ Robert F. Kelly
                                                     ROBERT F. KELLY
                                                     SENIOR JUDGE
